                                 COURT OF APPEALS FOR THE
                            FIRST DISTRICT OF TEXAS AT HOUSTON

                               ORDER ON MOTION FOR REHEARING

Appellate case name:      In the Interest of J. I. T. and J. A. T., children

Appellate case number:    01-17-00988-CV

Trial court case number: 2011-53185

Trial court:              311th District Court of Harris County

Date motion filed:        July 26, 2018

Party filing motion:      Texas Department of Family and Protective Services

       It is ordered that the motion for rehearing is      DENIED       GRANTED.


Judge’s signature: /s/ Harvey Brown
                          Acting individually           Acting for the Court

Panel consists of: Higley, Brown, and Caughey


Date: August 14, 2018
